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IN THE uNITED STATES DISTRICT coURT “' ~ D'C-

FOR THE wEs;§:§ERJ;ISDTIl§ICSTIO<J§= TENNESSEE 95 JUN 214l PH|Z= 341

or rim

BETTY JONES, W-D 9 TN vl`_`.JJ.“,-urs
Plaintiff,

vs. No. 04-3052
MEDEGEN MEDICAL PRODUCTS, LLC,

Defendant.

-._/\._¢~._/-..r`_¢~_/`_/v-._r

 

ORDER AWARDING ATTORNEY FEES AND EXPENSES TO DEFENDANT
FOR A PORTION OF THE AMOUNTS INCURRED IN PREPARING AND FILING
DEFENDANT'S MOTION 'I'O COMPEL

 

Before the court is the Affidavit of Cary Schwimmer, filed on
June 7, 2005, in compliance with the court’s May 24, 2005 order
granting defendant's motion to compel and awarding attorney's fees
and expenses. Plaintiff filed her objections to the affidavit on
June 23, 2005.

The affidavit sets forth the nature of legal services rendered
on. behalf of the defendant by Schwimmer and. a Legal Research
Specialist in preparing and filing the motion to compel, the total
amount of time spent, the hourly rates charged by each, and the
total amount of $1,184.00 incurred as fees and expenses.

Although the court has no reason to doubt the accuracy of
these fees and expenses, under the circumstances of this case, the
court will reduce the award to make it just. See Fed. R. Civ. P.

7(a)(4)(A). The court will award 50% of the total amount claimed

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as fees and expenses.

IT IS THEREFORE ORDERED, pursuant to Federal Rule of Civil
Procedure 37(a)(4)(A), that the plaintiff pay the defendant the
total sum of $592.00, within thirty days of the date of this order,
for a portion of the attorney's fees and expenses incurred in
preparing defendant's motion to compel.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

Date: TUV`Q_ Q~Lk[ 20°§'

      

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This notice confirms a copy of the document docketed as number 13 in
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Linda Kendall Garner

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Cary SchWimmer

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3725 Champion Hills Dr.

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l\/lemphis7 TN 38125

Honorable J on McCalla
US DISTRICT COURT

